    Case 22-50035-JPS           Doc 459        Filed 06/13/23 Entered 06/13/23 11:55:29          Desc Memo
                                                      Page 1 of 1
                                   United States Bankruptcy Court
                                               Middle District of Georgia
Date: 6/13/23
In re:
   Teri G. Galardi
   2146 Highway 42 South
   Flovilla, GA 30216
Debtor(s)

Case No. 22−50035−JPS

Chapter 11

Re: Doc 430; Objection to Claim 105 of Claimant Astrid E. Gabbe. in the amount of $67,170.77. Objections due by
6/9/2023 plus an additional 3 (three) days if served by mail filed by Trustee Thomas T. McClendon, as Liquidating
Trustee of the Galardi Creditors Trust Hearing scheduled for 06/21/2023 at 11:00 AM − Macon Courtroom A. Court
to hold submitted order for review until 6/12/2023. (McClendon, Thomas) (Entered:
05/10/2023)

Dear Mr. McClendon,

Please upload your proposed order on the above−mentioned Objection to Claim. The time to respond` has expired and
no objections were filed.

Thank you for your attention to this matter.

Sincerely,

Mary L. Bryan

Deputy Clerk
United States Bankruptcy Court


478−749−6811
